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13

14                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                   OAKLAND DIVISION
16
     ABANTE ROOTER AND PLUMBING,                   NO. 4:15-cv-06314-YGR
17   INC., MARK HANKINS, and PHILIP J.
                                                   DECLARATION OF CARLA A. PEAK
     CHARVAT, individually and on behalf of all
18                                                 ON IMPLEMENTATION OF
     others similarly situated,                    SETTLEMENT NOTICE PLAN
19                       Plaintiffs,
                                                   JURY TRIAL DEMAND
20
           v.
                                                   Complaint Filed: December 30, 2015
21
     ALARM.COM INCORPORATED, and
22   ALARM.COM HOLDINGS, INC.,                     Honorable Yvonne Gonzalez Rogers

23                       Defendants.               DATE:     August 13, 2019
                                                   TIME:     2:00 p.m.
24                                                 LOCATION: Oakland Courthouse
                                                             Courtroom 1 - 4th Floor
25

26
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 1
     CASE NO. 4:15-CV-06314-YGR
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 1            I, Carla A. Peak, declare as follows:

 2            1.     I have personal knowledge of the matters set forth herein, and I believe them to be
 3   true and correct. I am Vice President of Legal Notification Services at KCC, LLC (“KCC”), the
 4
     Settlement Administrator in this action.
 5
              2.     KCC was chosen by the parties and approved by the Court to design and
 6
     implement the notice program (the “Notice Plan”) and notice documents (the “Notices”) to
 7

 8   inform class members about their rights and options under the class action settlement (the

 9   “Settlement”). Details about the Notice Plan, along with our experience and credentials, were

10   included with my prior declarations, Declaration of Carla A. Peak in Support of Notice Plan
11   (Dkt. #280) and Supplemental Declaration of Carla A. Peak in Support of Notice Plan (Dkt.
12
     #288).
13
              3.     With the support of KCC’s claims administration and media teams, each element
14
     of the Court-approved Notice Plan has been implemented.
15

16                   a)      The media portion of the Notice Plan reached at least 74% of likely

17                   Settlement Class Members on average 2.2 times each via the consumer magazine

18                   and internet efforts alone.1 The mailed and emailed Notices were successfully
19
                     delivered to approximately 84.5% of the identified Settlement Class Members.
20
                     b)      All of the Court-approved Notices were designed to be noticeable, clear,
21
                     simple, substantive, and informative, and complied with the requirements for
22

23

24
     1
25     The reach or net reach of a notice program is defined as the percentage of a class that was
     exposed to a notice net of any duplication among people who may have been exposed more than
26   once. The average “frequency” of notice exposure is the average number of times that those
     reached by a notice would be exposed to a notice.
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 2
     CASE NO. 4:15-CV-06314-YGR
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 1                   notices outlined in the Northern District of California’s Procedural Guidance for

 2                   Class Action Settlements
 3                   c)     The Notices were disseminated by February 15, 2019, ensuring that each
 4
                     person reached had adequate time prior to the final approval hearing to make
 5
                     appropriate decisions, such as whether to object or opt out.
 6
                     d)     The Notice Plan fairly and adequately covered the Settlement Class
 7

 8                   without excluding any demographic group or geographic area.

 9                   e)     The Notice Plan was consistent with other court-approved notice programs

10                   that KCC has designed and implemented for purposes of settlement.
11          4.       After the Court granted preliminary approval of the Settlement, KCC began
12
     implementing the Notice Plan. This declaration provides relevant details and “proofs of
13
     performance” of the media activities undertaken.
14

15                                NOTICE PLAN IMPLEMENTATION
16                                            Data Preparation
17          5.       After preliminary approval was granted, KCC merged all of the data received
18   from Plaintiffs’ Counsel into one comprehensive database. KCC then de-duplicated the database
19   to ensure, as best as possible, that each unique telephone number appeared on the list a single
20   time. Where duplicate telephone numbers appeared in the database with matching email
21   addresses, the duplicate telephone number was removed. Where duplicate telephone numbers
22   appeared in the database with unique email addresses, the duplicate telephone number was
23   retained. In total, after removing clear duplicates, the Notice List contained 1,215,993 Settlement
24   Class Member phone numbers. After de-duplication, KCC performed a reverse directory search
25   using the phone numbers provided in the database that did not contain an associated postal
26   address.
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 3
     CASE NO. 4:15-CV-06314-YGR
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 1          6.      Where the initial search did not return a result, KCC used both a secondary and
 2   tertiary reverse directory data vendor to increase the number of search results.
 3          7.      Upon completion of the above-referenced searches, KCC updated the database
 4   and created an identified class member “Notice List” using the information obtained. KCC then
 5   de-duplicated and reviewed the entire identified class member Notice List to ensure a single
 6   summary notice was emailed or a mailed, except as discussed below. In total from all sources,
 7   KCC was able to identify addresses and/or email addresses for 1,183,991 identified Settlement
 8   Class Members.
 9          8.      Prior to finalizing the class list, KCC performed a “list cleanse” analysis on the
10   available email addresses to identify addresses that would be undeliverable and/or jeopardize the
11   overall deliverability of the email campaign due to being identified as known fraudulent or
12   invalid addresses, retaining only addresses with a likelihood of being deliverable. After
13   performing this analysis, 197,406 email addresses were identified that were expected to be
14   deliverable or potentially deliverable.
15                                             Individual Notice
16          9.      On February 15, 2019, KCC sent the summary notice via email (the “Email
17   Notice”) to 197,406 emails on the Notice List.
18          10.     As of February 22, 2019, KCC received data indicating that 128,388 Email
19   Notices were successfully delivered.
20          11.     In addition, on February 15, 2019 KCC sent the summary notice via USPS
21   (“Postcard Notice”) to all identified Settlement Class Members with a known physical address,
22   including those for whom an email address was available in the Notice List. KCC sent the
23   Postcard Notice to 1,183,991 physical addresses on the Notice List.
24

25

26
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 4
     CASE NO. 4:15-CV-06314-YGR
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 1          12.     Prior to mailing, the addresses were checked against the National Change of
 2   Address (NCOA)2 database maintained by USPS; certified via the Coding Accuracy Support
 3   System (CASS);3 and verified through Delivery Point Validation (DPV).4
 4          13.     Notices returned by USPS as undeliverable were re-mailed to any address
 5   available through postal service forwarding order information. For any returned mailing that did
 6   not contain an expired forwarding order with a new address indicated, KCC conducted further
 7   address searches using credit and other public source databases to attempt to locate new
 8   addresses. When new addresses were located, KCC re-mailed the Postcard Notices to the new
 9   addresses.
10          14.     As of June 14, 2019, KCC received 256,934 Postcard Notices were returned as
11   undeliverable. Of these, 71,966 were re-mailed to a different address as provided by expired
12   postal forwarding information or to an address that resulted from further search. In total,
13   1,002,004 Postcard Notices are considered to have been successfully delivered.
14          15.     In total, 1,027,192 Email and Postcard Notices were successfully delivered,
15   representing approximately 84.5% of the identified Settlement Class Members.
16          16.     A copy of the Email Notice is attached as Exhibit A. A copy of the Postcard
17   Notice is attached as Exhibit B.
18          17.     In March 2019, reminder notices were sent to all identified Settlement Class
19   Members who had not yet filed a claim and for whom an email address was available. KCC sent
20   a total of 127,484 Reminder Notices. A copy of the Reminder Notice is attached as Exhibit C.
21

22   2
       The NCOA database contains records of all permanent change of address submissions received
     by the USPS for the last four years. The USPS makes this data available to mailing firms and
23
     lists submitted to it are automatically updated with any reported move based on a comparison
24   with the person’s name and last known address.
     3
       Coding Accuracy Support System is a certification system used by the USPS to ensure the
25   quality of ZIP+4 coding systems.
     4
       Records that are ZIP+4 coded are then sent through Delivery Point Validation to verify the
26   address and identify Commercial Mail Receiving Agencies. DPV verifies the accuracy of
     addresses and reports exactly what is wrong with incorrect addresses.
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 5
     CASE NO. 4:15-CV-06314-YGR
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 1                                           Consumer Publications
 2             18.     A third-page summary notice (“Publication Notice”)appeared in the national print
 3   editions and online digital replicas of the consumer publications on the dates and pages indicated
 4   below:
 5
         Publication                       Issue Date5                 On-Sale Date6            Page #
 6
         Better Homes & Gardens             April 2019                 March 15, 2019             128
 7
         People                           March 4, 2019            February 22, 2019              50
 8

 9             19.     The Better Homes & Gardens Publication Notice appeared within “Food
10   Recipes,” which provides instructions on how to create the food items featured in the issue. The
11   People magazine Publication Notice appeared adjacent to the issue’s feature article about
12   Miranda Lambert’s secret marriage to Brendan McLoughlin.
13             20.     Copies of the Publication Notices as they appeared in the publications are attached
14   as Exhibit D.
15                                            Internet Advertising
16             21.     Two hundred forty one million seven hundred fifty thousand (241,750,000) digital
17   media impressions were purchased and distributed over the Google Display Network (GDN),
18   Facebook, and YouTube. The impressions appeared on both mobile and desktop devices and
19   broadly targeted adults 18 years of age or older.
20             22.     A total of 252,917,745 impressions were delivered over an approximate 60-day
21   period beginning on February 15, 2019, resulting in an additional 11,167,745 impressions above
22   and beyond what was planned. The banner notices appeared on a variety of websites, such as
23   amazon.com, msn.com, and people.com.
24

25

26   5
         The date that appeared on the cover of the publication.
     6
         The date the publication first became available to readers.
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 6
     CASE NO. 4:15-CV-06314-YGR
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 1          23.     Screenshots of the digital media notices as they appeared on various websites are
 2   attached as Exhibit E.
 3                                           Settlement Website
 4          24.     On or before February 15, 2019, a settlement website
 5   (www.AlarmTCPAclassaction.com) was established. The settlement website provided
 6   Settlement Class Members with additional information, such as answers to frequently asked
 7   questions, important dates and deadlines, the Settlement Agreement, the Email Notice, the
 8   Website Notice, the Court’s Order Granting Preliminary Approval, and the Motion for
 9   Attorneys’ Fees, Costs, and Service Awards with supporting declarations. The website also
10   allowed Settlement Class Members to submit a Claim Form online and to check the number of
11   phone calls to their phone number (if they were part of the identified Settlement Class Member
12   population).
13          25.     As of June 14, 2019, the settlement website has received 1,970,935 hits and
14   27,494 Claim Form submissions. The website address was displayed on the Postcard Notice and
15   Publication Notice, and was accessible through a hyperlink embedded in the Email Notices and
16   internet banner notices.
17                                     Toll-Free Telephone Number
18          26.     On or before February 15, 2019, a toll-free number (1-855-256-2243) was
19   established. By calling this number, Settlement Class Members were able to learn more about the
20   Settlement in the form of frequently asked questions and answers, request to have a Detailed
21   Notice mailed directly to them, and leave a message. As of June 14, 2019, the toll-free number
22   has received a total of 1,019 calls, of which 129 left a message. It also received 151 requests for
23   Class Notices. The toll-free number was displayed on the Postcard Notice, Email Notice,
24   Publication Notice, Reminder Notice and on the settlement website.
25                                          Settlement P.O. Box
26
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 7
     CASE NO. 4:15-CV-06314-YGR
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 1          27.     On or before February 15, 2019, a Settlement P.O. Box was established. The P.O
 2   Box allowed Settlement Class Members to submit hard copy Claim Forms, exclusion requests,
 3   objections, and other case correspondence by postal mail.
 4                                         Requests for Exclusion
 5          28.     The deadline for Settlement Class Members to request to be excluded from the
 6   Settlement Class was April 16, 2019. KCC has received 14 valid requests for exclusion. Four
 7   additional requests for exclusion were received that were deemed to be incomplete and were sent
 8   a deficiency letter allowing them the opportunity to correct their request. As of the date of this
 9   declaration KCC has received a response from one of the four people sent these letters and their
10   request is now considered valid. A list of class members requesting exclusion and those whose
11   exclusion requests are currently considered deficient is attached as Exhibit F.
12                                               Objections
13          29.     The deadline for Settlement Class Members to object to the Settlement was April
14   16, 2019. KCC has received no objections to the Settlement.
15                                              Claim Forms
16          30.     The deadline for Settlement Class Members to submit or file a Claim Form was
17   April 16, 2019. As of the date of this declaration, KCC has received 55,435 timely Claim Forms.
18   Of these, 43,292 have been deemed valid, 4,763 have been deemed deficient, 1,781 are under
19   review for validity and 5,599 were duplicative or consolidated. Settlement Class Members who
20   submitted deficient Claim Forms were sent a letter providing them with an opportunity to correct
21   the deficiency. The cure period for deficient claims remains open as of the date of this
22   declaration.
23          31.     Of the 43,292 valid Claim Forms, 19,794 contained claims for more than one
24   telephone number. In total, Claim Forms associated with 73,256 telephone numbers were filed.
25   The exact quantity of numbers associated with deficient claims can’t be determined yet because
26   many failed to provide a number on their claim form. Based on the current valid claims, if the
27   Court approves all requested settlement expenses, including attorneys’ fees, costs, and

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 8
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 1   administration expenses, a Settlement Class Member would be entitled to an estimated payment
 2   of $235 for each claimed telephone number.
 3                                         Distribution of CAFA Notices
 4           32.     In compliance with the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715,
 5   KCC compiled a CD-ROM containing the following documents: Class Action Complaint for
 6   Damages and Injunctive Relief, Defendants’ Answer and Affirmative Defenses to Class Action
 7   Complaint for Damages and Injunctive Relief, Plaintiffs’ Notice of Motion and Memorandum of
 8   Points and Authorities in Support of Unopposed Motion for Preliminary Approval of Class
 9   Action Settlement, Declaration of Beth E. Terrell in Support of Plaintiffs’ Motion for
10   Preliminary Approval of Class Action Settlement, Declaration of Edward A. Broderick in
11   Support of Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement, Declaration
12   of John W. Barrett in Support of Plaintiffs’ Motion for Preliminary Approval of Class Action
13   Settlement, Declaration of Matthew P. McCue in Support of Plaintiffs’ Motion for Preliminary
14   Approval of Class Action Settlement, Declaration of Fred Heidarpour for Abante Rooter and
15   Plumbing, Inc., Declaration of Philip J. Charvat, Declaration of Mark Hankins, Declaration of
16   Carla A. Peak in Support of Notice Plan, [Proposed] Order Granting Plaintiffs’ Motion for
17   Preliminary Approval of Class Action Settlement, Postcard Notice, Email Notice, Website
18   Notice, Publication Notice, Class Action Settlement Agreement, [Proposed] Final Approval Order,
19   a cover letter, and Appendix A, providing an approximate percentage breakdown of class
20   member by state of residence (collectively, the “CAFA Notice Packet”). A copy of the cover
21   letter and Appendix A is attached hereto as Exhibit G.
22           33.     On November 2, 2018, KCC caused fifty-eight (58) CAFA Notice Packets to be
23   mailed via Priority Mail from the U.S. Post Office in Memphis, Tennessee to the parties listed on
24   Exhibit H, i.e., the U.S. Attorney General, the Attorneys General of each of the 50 States and the
25   District of Columbia, the Attorneys General of the 5 recognized U.S. Territories, as well as
26   parties of interest to this Action.
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 9
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 1          34.     As of the date of this declaration, KCC has received no response to the CAFA
 2   Notice Packet from any of the recipients identified in paragraph 30 above.
 3                            Notice Plan and Settlement Administration Expenses
 4          35.     Based on current time and expenses, and likely future time and expenses, incurred
 5   in designing and implementing the Notice Plan and administering the Settlement will not exceed
 6   $1,825,000. The final costs of administration will be contingent upon, amongst other things, the
 7   process for W9 collection ultimately approved by the Court and the final count and disposition of
 8   payments to claimants.
 9          36.     Based on preliminary estimates of claimant awards it is anticipated that some
10   payments will total $600 or more, making them reportable as 1099 MISC income. In
11   compliance with IRS regulations KCC must solicit and acquire valid and complete W9 forms
12   prior to issuing payments of $600 or more. The exact number of affected claimants will be
13   impacted by the number of valid deficiency responses and the associated phone numbers for
14   those responses. It is our understanding that the parties intend to propose to the Court that KCC
15   perform two rounds of W9 solicitation, where applicable, with at least 30 days between the two
16   campaigns. Any claimant that is part of this group who fails to submit a valid and timely W9
17   response will have their payment limited to $599.
18                                            CONCLUSION
19          37.     The primary objective of the Notice Plan was to effectively reach Settlement
20   Class Members with notice of the Settlement and provide them with a reasonable opportunity to
21   understand their legal rights and options. These efforts were successful.
22          38.     The media portion of the Notice Plan reached at least 74% of likely Settlement
23   Class Members on average 2.2 times each. The individual notice efforts significantly enhanced
24   and extended the overall reach of the Notice Plan.
25          39.     In my experience, this reach percentage is consistent with other effective court-
26   approved notice programs. In addition, it meets the 70-95% reach standard set forth in the
27

     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 10
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 1   Federal Judicial Center’s (FJC) Judges’ Class Action Notice and Claims Process Checklist and
 2   Plain Language Guide.
 3          40.     The Notices were designed to be “noticed” and understood by Settlement Class
 4   Members. They contained easy-to-read summaries of all the key information affecting
 5   Settlement Class Members’ rights and options. All information required by Federal Rule of Civil
 6   Procedure 23, as well as the Manual for Complex Litigation, Fourth, and the Northern District of
 7   California’s Procedural Guidance for Class Action Settlements was incorporated into the
 8   Notices. Many courts, as well as the FJC, have approved notices that were written and designed
 9   in a similar fashion.
10          41.     In my opinion, the Notice Plan and Notices provided the best notice practicable
11   under the circumstances of this case, satisfied due process, including its “desire to actually
12   inform” requirement, conformed to all aspects of Federal Rule of Civil Procedure 23, and
13   comported with the guidance for effective notice articulated in the Manual for Complex
14   Litigation, Fourth and the Northern District of California’s Procedural Guidance for Class
15   Action Settlements.
16          I declare under penalty of perjury under the laws of the United States of America that the
17   foregoing is true and correct.
18          EXECUTED at Sellersville, Pennsylvania, this 21st day of June, 2019.
19

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21

22
                                                            Carla A. Peak
23

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     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 11
     CASE NO. 4:15-CV-06314-YGR
            Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 12 of 52




 1                                     CERTIFICATE OF SERVICE

 2
            I, Beth E. Terrell, hereby certify that on June 21, 2019, I electronically filed the foregoing
 3
     with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 4
     to the following:
 5
                    Kasey C. Townsend, SBN #152992
 6                  Email: ktownsend@murchisonlaw.com
 7                  Susan J. Welde, SBN #205401
                    Email: swelde@murchisonlaw.com
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                    275 Battery Street, Suite 850
 9                  San Francisco, California 94111
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10

11                  Martin W. Jaszczuk, Admitted Pro Hac Vice
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12                  Margaret M. Schuchardt, Admitted Pro Hac Vice
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13                  Seth H. Corthell, Admitted Pro Hac Vice
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22

23                  Attorneys for Defendants Alarm.com Incorporated and Alarm.com Holdings, Inc.

24

25

26

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     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 12
     CASE NO. 4:15-CV-06314-YGR
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 1        DATED this 21st day of June, 2019.

 2                                        TERRELL MARSHALL LAW GROUP PLLC
 3                                        By: /s/ Beth E. Terrell, SBN #178181
 4                                            Beth E. Terrell, SBN #178181
                                              Email: bterrell@terrellmarshall.com
 5                                            936 North 34th Street, Suite 300
                                              Seattle, Washington 98103-8869
 6                                            Telephone: (206) 816-6603
                                              Facsimile: (206) 319-5450
 7

 8                                        Attorneys for Plaintiffs

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     DECLARATION OF CARLA A. PEAK ON IMPLEMENTATION OF SETTLEMENT
     NOTICE PLAN - 13
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                      Exhibit A
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Claim ID#: «ClaimID»
«First1» «Last1»

                                                 EMAIL NOTICE

                 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

   If you received telemarketing calls from Alliance Security, Inc. or a third party
hired by Alliance that promoted or could have resulted in the purchase of Alarm.com
      goods or services, you could get a payment from a class action settlement.
                                Click Here For A Downloadable Claim Form
                               Click Here To Access An Electronic Claim Form

Why did I get this Notice? You received this Notice because a proposed settlement of a class action lawsuit filed
against Alarm.com has been reached in the United States District Court for the Northern District of California
(Abante Rooter and Plumbing, Inc. et al. v. Alarm.com Incorporated et al., Case No. 4:15-cv-06314)
(the “Settlement”).

You may be in the Settlement Class because on or after December 30, 2011 you may have received from Alliance
Security, Inc. or one of its subdealers, independent business operators, vendors, lead generators, or agents
(collectively “Alliance”) without your permission: (a) automated telemarketing calls to your cellular telephone;
(b) telemarketing calls using an artificial or pre-recorded voice to your cellular telephone or residential line; or
(c) two or more telemarketing calls within any twelve-month period to a telephone number that was registered on
the National Do-Not-Call Registry, where the calls promoted Alarm.com goods or services or could have resulted
in the installation of a security system that could use or include any Alarm.com product or service. Records
obtained through this case indicate that you may have received one or more of these calls. You are not a member
of the Settlement Class if you previously received a notice of this class action and excluded yourself. You also are
not a member of the Settlement Class if you provided your telephone number to Alarm.com before you received
the allegedly unlawful calls from Alliance.

The Court authorized this Notice because you have a right to know about the proposed Settlement and your
options before the Court decides whether to approve the Settlement. Because your rights will be affected by this
Settlement, it is extremely important that you read this Notice carefully.

What is this lawsuit about? Plaintiffs brought this lawsuit alleging that Alarm.com’s dealer, Alliance Security,
Inc., violated the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”) by making or retaining
others to make automated telemarketing calls promoting Alarm.com’s goods or services to cellular telephones,
and making calls using an artificial or pre-recorded voice to a residential line, and making calls to telephone
numbers registered on the National Do-Not-Call Registry without the prior permission of the people contacted.
Under the TCPA, a person is entitled to receive $500 for calls that were placed using a pre-recorded message or
automated telephone dialing system without the person’s consent. A person is entitled to receive up to $500 per
call for calls placed to telephone numbers registered on the National Do-Not-Call Registry without that person’s
consent. If the person proves the calls were placed willfully, the person is entitled to triple the amount awarded, up
to $1,500. Alarm.com denies all allegations of wrongdoing in the lawsuit. The Court did not decide in favor of
the Plaintiffs or Alarm.com. Instead, both sides agreed to a settlement. That way, they avoid the cost of a trial, and
the people affected will get compensation.

What are the terms of the Settlement? Alarm.com will pay $28,000,000 into a fund that will cover: (1) cash
payments to eligible persons in the Settlement Class who submit Claim Forms; (2) attorneys’ fees to Class
Counsel, in an amount not to exceed 30% of the Settlement Fund or $8,400,000 as approved by the Court;
(3) Class Counsel’s out-of-pocket expenses, currently estimated to be approximately $525,000, as approved by
                                                                                                              A2TNTE1
               Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 16 of 52

the Court; (4) court-approved Service Awards in the amount of $10,000 each to Plaintiffs Abante Rooter and
Plumbing, Inc., Hankins, and Charvat; and (5) the costs of administering the Settlement. Your share of the fund
will depend on a number of factors, including the number of Claim Forms that Settlement Class Members submit.
Class Counsel estimate each Settlement Class Member will receive between $94 and $142. Actual payments will
be calculated based on the total number of telephone numbers that received qualifying phone calls.

                    YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

         Submit a Claim Form. To get a cash payment, you must submit a Claim Form. You may submit a Claim
Form online by going to the Settlement Website at www.AlarmTCPAClassAction.com and following the
instructions. You may also request a paper copy of the Claim Form by calling the Settlement Administrator
toll-free at 1-855-256-2243 or downloading it. You must mail your paper Claim Form to: Alarm.com Settlement
Administrator, P.O. Box 505034, Louisville, KY 40233-9702. Your Claim Form must be postmarked or received
through the Settlement Website at www.AlarmTCPAClassAction.com by April 16, 2019.

                                Click Here For A Downloadable Claim Form
                               Click Here To Access An Electronic Claim Form

        Exclude yourself. To exclude yourself from the settlement, you must send a letter by mail saying that you
want to be excluded from the Abante Rooter and Plumbing, Inc. et al. v. Alarm.com Incorporated et al.
settlement. You must sign the letter and include the following statement: “I request to be excluded from the
Settlement in the Alarm.com action.” Your request for exclusion must include your full name, address, and
telephone number at which you may be contacted; the telephone number(s) which you maintain was unlawfully
called; and must be personally signed by you. You must mail your exclusion request postmarked no later than
April 16, 2019 to the following address:

                                          Alarm.com Settlement Administrator
                                          P.O. Box 505034
                                          Louisville, KY 40233-9702

If you submit a valid exclusion request, you will not get a payment, and you cannot object to the Settlement.
You will not be legally bound by anything that happens in this lawsuit.

        Object. If you remain a Settlement Class Member, you may object to the Settlement by writing to the
Court by no later than April 16, 2019. Additional details on how to object to the Settlement are contained in the
detailed Notice which is available on the Settlement Website at www.AlarmTCPAClassAction.com Please note
that the Court cannot change the terms of the Settlement. The Court can only approve or deny the Settlement.

       Go to the Fairness Hearing. The Court will hold a hearing on August 13, 2019 at 2:00 p.m. to decide
whether to approve the Settlement, including the amount of attorneys’ fees and costs to be paid to Class Counsel
and the amount of Service Awards to be paid to the Class Representatives. It is not necessary for you to appear at
the hearing, but you may attend at your own expense. The hearing will be held at the U.S. District Court for the
Northern District of California, located at 1301 Clay Street, Oakland, CA 94612, in Courtroom One on the
Fourth Floor.

Note: The date and time of the Fairness Hearing are subject to change by Court Order. Any changes will be posted
at the Settlement Website, www.AlarmTCPAClassAction.com. You can also monitor case activity and for
changes to the dates and time of the fairness hearing by accessing the Court docket in this case through the Court’s
Public Access to Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the
office of the Clerk of the Court for the United States District Court for the Northern District of California,
1301 Clay Street, Oakland, CA 94612, between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding
Court holidays.

                                                        -2-
                      Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 17 of 52

       Do Nothing. If you do nothing, you will be legally bound by the settlement but you will not get a
settlement payment.

Further information regarding the Settlement is available at www.AlarmTCPAClassAction.com. You may also
contact the Settlement Administrator toll-free at 1-855-256-2243 or by writing to: Alarm.com Settlement
Administrator, P.O. Box 505034, Louisville, KY 40233-9702.
The United States District Court for the Northern District of California has ordered this email notice to be sent. If you wish to UNSUBSCRIBE from future email messages
from the Settlement Administrator with regard to this Settlement, please click on this link.



                                               Click Here For A Downloadable Claim Form
                                              Click Here To Access An Electronic Claim Form




                                                                                   -3-
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                      Exhibit B
Case 4:15-cv-06314-YGR
         A COURT AUTHORIZED Document Alarm.com
                                     304 Filed     06/21/19
                                               Settlement       Page 19 of 52
                                                          Administrator
                    THIS LEGAL NOTICE                             P.O. Box 505034
   If you received telemarketing                                  Louisville, KY 40233-9702
  calls from Alliance Security or
third parties hired by Alliance that
 promoted or could have resulted
   in the purchase of Alarm.com
   goods or services, you may be
     entitled to benefits under a
       class action settlement.
                                                                  «Barcode»
A settlement has been reached in a class action                   Postal Service: Please do not mark barcode
lawsuit, Abante Rooter and Plumbing, Inc.
v. Alarm.com Inc. (U.S. District Court N.D.                       Claim#: A2T-«ClaimID»-«MailRec»
Cal.), where Plaintiffs allege that Alarm.com’s                   «First1» «Last1»
dealer Alliance Security or third parties hired by                «CO»
Alliance     (collectively   “Alliance”)     placed:              «Addr2»
(1) autodialed or pre-recorded calls and (2) calls to             «Addr1»
numbers on the National Do-Not-Call Registry.                     «City», «St» «Zip»
Alarm.com denies any wrongdoing.                                  «Country»

Complete and return the enclosed Claim Form by
April 16, 2019 to receive a cash payment.

A2T
                                               Carefully separate at perforation.
                                                                                                        «ClaimID»
                             Alarm.com Telemarketing Settlement Claim Form
      Fill out each section of this form, sign where indicated, carefully tear at perforation, and mail. Forms must be
postmarked by April 16, 2019. You may also complete your Claim Form online at www.AlarmTCPAClassAction.com.
If you received calls on more than three telephone numbers you will need to submit additional Claim Forms.
Part I:      Claimant Identification. Complete this section.
Name (First, Last):
Street Address:
City, State, ZIP Code:
Country (if not USA):
Contact Phone #:                                             Email Address:
Telephone #(s) at which calls were received:


Part II: Claim. Unique Identifier: «ClaimID»
I affirm I received one or more calls at the number(s) listed above on or after December 30, 2011 from Alliance or a third
party hired by Alliance that promoted or could have resulted in the purchase of Alarm.com goods or services.
Part III: Certification. I certify that the foregoing information is true and correct.
Signature:
Print Name:
Date (mm/dd/yyyy):

             *A2T«ClaimID»*                               «ClaimID»
Case   4:15-cv-06314-YGR
WHO IS A                             Document
         CLASS MEMBER? You may be in the Settlement Class304
                                                          if, on or Filed    06/21/19
                                                                    after December             Page
                                                                                   30, 2011, you received20
                                                                                                         from of  52
                                                                                                              Alliance
Security or third parties hired by Alliance an automated telemarketing call on your cell phone or a telemarketing call to your
residential line using an artificial or pre-recorded voice, or if you received multiple calls in a twelve-month period to a number
listed on the National Do-Not-Call Registry. Records obtained through this case indicate that you may have received one or more of
these calls. You are NOT a class member if you previously excluded yourself from this case or provided your telephone number to
Alarm.com prior to receiving such calls.
SETTLEMENT TERMS: Alarm.com will pay $28,000,000 into a fund that will cover: (1) cash payments
to eligible Settlement Class Members who submit claims; (2) attorneys’ fees to Class Counsel not to exceed
$8,400,000 (30% of the fund) plus litigation costs of approximately $525,000, as approved by the Court; (3) court-
approved service awards to Plaintiffs Abante Rooter and Plumbing, Hankins, and Charvat of $10,000 each; and
(4) the costs of administering the settlement. Under the TCPA, a person is entitled to receive $500 for calls placed using a pre-recorded
voice or automatic telephone dialing system without the person’s consent. A person is entitled to receive up to $500 per call for calls
placed to telephone numbers registered on the National Do-Not-Call Registry without that person’s consent. Class Counsel estimate
you will receive between $94 and $142, which is less than the $500 to $1,500 per call you might receive if Plaintiffs had won at trial.
The amount you will receive under the Settlement will depend on the number of Claim Forms that Class Members submit and other
factors. Actual payments will be calculated based on the total number of telephone numbers that received qualifying phone calls.
YOUR RIGHTS AND OPTIONS: Submit a Claim Form. To receive a cash award, fill out the attached Claim
Form, carefully tear off at the perforation, and drop it in the mail. You may also submit a Claim Form electronically
on the Settlement Website: www.AlarmTCPAClassAction.com. You can submit one claim per telephone number
at which you received calls. Your Claim Form must be postmarked or submitted electronically no later than
April 16, 2019. Opt Out. You may also exclude yourself from the Settlement and keep your right to sue Alarm.com on your own
by sending a written request for exclusion to the Settlement Administrator postmarked by April 16, 2019. If you do not exclude
yourself, you will be bound by the settlement and give up your right to sue Alarm.com regarding the settled claims. Please visit
the Settlement Website for more details. Object. If you do not opt out, you have the right to object to the proposed settlement.
Objections must be signed, filed with the Court, postmarked by April 16, 2019, provide the reason(s) for the objection, and specify
if the objection applies only to the objector, to a specific subset of the class, or to the entire class. Visit the Website for more details.
Do Nothing. If you do nothing, you will not receive any payment and will lose the right to sue Alarm.com about the Released Claims.
You will be considered part of the Settlement Class, and you will be bound by the Court’s decisions. Attend the Fairness Hearing.
The Court has set a hearing to decide whether the settlement should be approved on August 13, 2019 at 2:00 p.m. at the United States
District Court for the Northern District of California, Courtroom One, 4th Floor, 1301 Clay Street, Oakland, CA 94612.
All persons who timely object to the settlement by April 16, 2019 may ask to appear at the Fairness Hearing.
                                   You can find more details about the settlement on the website:
                             www.AlarmTCPAClassAction.com or by calling toll-free 1-855-256-2243.
                         PLEASE DO NOT TELEPHONE THE COURT OR THE CLERK’S OFFICE
                          TO INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIMS PROCESS.



A2T                                                                                                                 NO POSTAGE
                                                                                                                    NECESSARY
                                                                                                                       IF MAILED
                                                                                                                       IN THE
                                                                                                                   UNITED STATES




                BUSINESS   REPLY LOUISVILLE,
             FIRST-CLASS MAIL
                       PERMIT NO. 959
                                      MAILKY
                            POSTAGE WILL BE PAID BY ADDRESSEE

                   ALARM.COM SETTLEMENT ADMINISTRATOR
                   PO BOX 505034
                   LOUISVILLE KY 40233-9702




                                                l1l1l11l•l1ll1l•l1l1l1l111l111l1l1l1l11lll1lll11111111lllllillll1
Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 21 of 52




                      Exhibit C
               Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 22 of 52
Claim ID#: «ClaimID»
«First1» «Last1»

                                         REMINDER EMAIL NOTICE

You were previously sent a Notice in the Abante Rooter and Plumbing, Inc. et al. v. Alarm.com Incorporated et
al. class action settlement and you are receiving this email as a reminder the claims deadline is approaching on
            April 16, 2019. Please read the email below for additional details about this Settlement.

                 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

   If you received telemarketing calls from Alliance Security, Inc. or a third party
hired by Alliance that promoted or could have resulted in the purchase of Alarm.com
      goods or services, you could get a payment from a class action settlement.
                                Click Here For A Downloadable Claim Form
                               Click Here To Access An Electronic Claim Form

Why did I get this Notice? You received this Notice because a proposed settlement of a class action lawsuit filed
against Alarm.com has been reached in the United States District Court for the Northern District of California
(Abante Rooter and Plumbing, Inc. et al. v. Alarm.com Incorporated et al., Case No. 4:15-cv-06314)
(the “Settlement”).

You may be in the Settlement Class because on or after December 30, 2011 you may have received from Alliance
Security, Inc. or one of its subdealers, independent business operators, vendors, lead generators, or agents
(collectively “Alliance”) without your permission: (a) automated telemarketing calls to your cellular telephone;
(b) telemarketing calls using an artificial or pre-recorded voice to your cellular telephone or residential line; or
(c) two or more telemarketing calls within any twelve-month period to a telephone number that was registered on
the National Do-Not-Call Registry, where the calls promoted Alarm.com goods or services or could have resulted
in the installation of a security system that could use or include any Alarm.com product or service. Records
obtained through this case indicate that you may have received one or more of these calls. You are not a member
of the Settlement Class if you previously received a notice of this class action and excluded yourself. You also are
not a member of the Settlement Class if you provided your telephone number to Alarm.com before you received
the allegedly unlawful calls from Alliance.

The Court authorized this Notice because you have a right to know about the proposed Settlement and your
options before the Court decides whether to approve the Settlement. Because your rights will be affected by this
Settlement, it is extremely important that you read this Notice carefully.

What is this lawsuit about? Plaintiffs brought this lawsuit alleging that Alarm.com’s dealer, Alliance Security,
Inc., violated the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”) by making or retaining
others to make automated telemarketing calls promoting Alarm.com’s goods or services to cellular telephones,
and making calls using an artificial or pre-recorded voice to a residential line, and making calls to telephone
numbers registered on the National Do-Not-Call Registry without the prior permission of the people contacted.
Under the TCPA, a person is entitled to receive $500 for calls that were placed using a pre-recorded message or
automated telephone dialing system without the person’s consent. A person is entitled to receive up to $500 per
call for calls placed to telephone numbers registered on the National Do-Not-Call Registry without that person’s
consent. If the person proves the calls were placed willfully, the person is entitled to triple the amount awarded, up
to $1,500. Alarm.com denies all allegations of wrongdoing in the lawsuit. The Court did not decide in favor of
the Plaintiffs or Alarm.com. Instead, both sides agreed to a settlement. That way, they avoid the cost of a trial, and
the people affected will get compensation.

                                                                                                              A2TNTE1
               Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 23 of 52

What are the terms of the Settlement? Alarm.com will pay $28,000,000 into a fund that will cover: (1) cash
payments to eligible persons in the Settlement Class who submit Claim Forms; (2) attorneys’ fees to Class
Counsel, in an amount not to exceed 30% of the Settlement Fund or $8,400,000 as approved by the Court;
(3) Class Counsel’s out-of-pocket expenses, currently estimated to be approximately $525,000, as approved by
the Court; (4) court-approved Service Awards in the amount of $10,000 each to Plaintiffs Abante Rooter and
Plumbing, Inc., Hankins, and Charvat; and (5) the costs of administering the Settlement. Your share of the fund
will depend on a number of factors, including the number of Claim Forms that Settlement Class Members submit.
Class Counsel estimate each Settlement Class Member will receive between $94 and $142. Actual payments will
be calculated based on the total number of telephone numbers that received qualifying phone calls.

                    YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

         Submit a Claim Form. To get a cash payment, you must submit a Claim Form. You may submit a Claim
Form online by going to the Settlement Website at www.AlarmTCPAClassAction.com and following the
instructions. You may also request a paper copy of the Claim Form by calling the Settlement Administrator
toll-free at 1-855-256-2243 or downloading it. You must mail your paper Claim Form to: Alarm.com Settlement
Administrator, P.O. Box 505034, Louisville, KY 40233-9702. Your Claim Form must be postmarked or received
through the Settlement Website at www.AlarmTCPAClassAction.com by April 16, 2019.

                                Click Here For A Downloadable Claim Form
                               Click Here To Access An Electronic Claim Form

        Exclude yourself. To exclude yourself from the settlement, you must send a letter by mail saying that you
want to be excluded from the Abante Rooter and Plumbing, Inc. et al. v. Alarm.com Incorporated et al.
settlement. You must sign the letter and include the following statement: “I request to be excluded from the
Settlement in the Alarm.com action.” Your request for exclusion must include your full name, address, and
telephone number at which you may be contacted; the telephone number(s) which you maintain was unlawfully
called; and must be personally signed by you. You must mail your exclusion request postmarked no later than
April 16, 2019 to the following address:

                                          Alarm.com Settlement Administrator
                                          P.O. Box 505034
                                          Louisville, KY 40233-9702

If you submit a valid exclusion request, you will not get a payment, and you cannot object to the Settlement.
You will not be legally bound by anything that happens in this lawsuit.

        Object. If you remain a Settlement Class Member, you may object to the Settlement by writing to the
Court by no later than April 16, 2019. Additional details on how to object to the Settlement are contained in the
detailed Notice which is available on the Settlement Website at www.AlarmTCPAClassAction.com Please note
that the Court cannot change the terms of the Settlement. The Court can only approve or deny the Settlement.

       Go to the Fairness Hearing. The Court will hold a hearing on August 13, 2019 at 2:00 p.m. to decide
whether to approve the Settlement, including the amount of attorneys’ fees and costs to be paid to Class Counsel
and the amount of Service Awards to be paid to the Class Representatives. It is not necessary for you to appear at
the hearing, but you may attend at your own expense. The hearing will be held at the U.S. District Court for the
Northern District of California, located at 1301 Clay Street, Oakland, CA 94612, in Courtroom One on the
Fourth Floor.

Note: The date and time of the Fairness Hearing are subject to change by Court Order. Any changes will be posted
at the Settlement Website, www.AlarmTCPAClassAction.com. You can also monitor case activity and for
changes to the dates and time of the fairness hearing by accessing the Court docket in this case through the Court’s
Public Access to Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the
                                                        -2-
                      Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 24 of 52

office of the Clerk of the Court for the United States District Court for the Northern District of California,
1301 Clay Street, Oakland, CA 94612, between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding
Court holidays.

       Do Nothing. If you do nothing, you will be legally bound by the settlement but you will not get a
settlement payment.

Further information regarding the Settlement is available at www.AlarmTCPAClassAction.com. You may also
contact the Settlement Administrator toll-free at 1-855-256-2243 or by writing to: Alarm.com Settlement
Administrator, P.O. Box 505034, Louisville, KY 40233-9702.
The United States District Court for the Northern District of California has ordered this email notice to be sent. If you wish to UNSUBSCRIBE from future email messages
from the Settlement Administrator with regard to this Settlement, please click on this link.



                                               Click Here For A Downloadable Claim Form
                                              Click Here To Access An Electronic Claim Form




                                                                                   -3-
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                      Exhibit D
Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 26 of 52
Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 27 of 52
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                      Exhibit E
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 728x90
                                 4:15-cv-06314-YGR        Document 304 Filed 06/21/19 Page 29 of 52
Placement: HuffPost.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 300x250
                                 4:15-cv-06314-YGR         Document 304 Filed 06/21/19 Page 30 of 52
Placement: HuffPost.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 728x90
                                 4:15-cv-06314-YGR        Document 304 Filed 06/21/19 Page 31 of 52
Placement: Oola.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 728x90
                                 4:15-cv-06314-YGR        Document 304 Filed 06/21/19 Page 32 of 52
Placement: People.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 300x250
                                 4:15-cv-06314-YGR         Document 304 Filed 06/21/19 Page 33 of 52
Placement: People.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 300x250
                                 4:15-cv-06314-YGR         Document 304 Filed 06/21/19 Page 34 of 52
Placement: Radio.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 728x90
                                 4:15-cv-06314-YGR        Document 304 Filed 06/21/19 Page 35 of 52
Placement: Radio.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 300x600
                                 4:15-cv-06314-YGR         Document 304 Filed 06/21/19 Page 36 of 52
Placement: Radio.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 728x90
                                 4:15-cv-06314-YGR        Document 304 Filed 06/21/19 Page 37 of 52
Placement: Weather.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 300x250
                                 4:15-cv-06314-YGR         Document 304 Filed 06/21/19 Page 38 of 52
Placement: Weather.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: 300x250
                                 4:15-cv-06314-YGR         Document 304 Filed 06/21/19 Page 39 of 52
Placement: YouTube.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: Desktop Ad
                                 4:15-cv-06314-YGR            Document 304 Filed 06/21/19 Page 40 of 52
Placement: Facebook.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: Desktop Right-Column
                                 4:15-cv-06314-YGR            DocumentAd   304 Filed 06/21/19 Page 41 of 52
Placement: Facebook.com
Abante Rooter and Plumbing v. Alarm.com
                         Case           Inc. II: Mobile Ad
                                 4:15-cv-06314-YGR           Document 304 Filed 06/21/19 Page 42 of 52
Placement: Facebook App
Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 43 of 52




                      Exhibit F
           Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 44 of 52


Requests for Exclusion

Total:                    18
           Last                First       Status
           ALEXANDER           FREDERICK   VALID
           BAILEY              OLDEN       VALID
           BANK                TODD        VALID
           BROWN               ANGELA L    VALID
           BROWN               TIFFANY     VALID
           DALLAPIAZZA         BILL        VALID
           GIGANDET            DIANE       DEFICIENT
           GONZALEZ            ABIGAIL     VALID
           HAMMEL              JAN T       VALID
           HOUSTON             ERIC        VALID
           HUSSIN              TAMMY       VALID
           KUBASKY             MARK        VALID
           MACKLIN             JAMAL       VALID
           RUOSS               JAMES       DEFICIENT
           SORENSEN            D           DEFICIENT
           TUCKER-CURRY        SHRAIL      VALID
           VALENTINE           ADELITA     VALID
           WILLIS              KEISHA      VALID
Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 45 of 52




                      Exhibit G
             Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 46 of 52




                                             November 2, 2018

VIA PRIORITY MAIL

«First» «Last»
«Company»
«Address_1»
«Address_2»
«City», «State» «Zip»

       Re:     Notice of Proposed Class Action Settlement Pursuant to 28 U.S.C. § 1715

Dear «First» «Last»:

        KCC Class Action Services, LLC has been retained as the independent third-party Administrator in
a class action lawsuit entitled Abante Rooter and Plumbing, Inc., Mark Hankins, and Philip J. Charvat,
individually and on behalf of all others similarly situated, v. Alarm.com Incorporated and Alarm.com
Holdings, Inc., Case No. 4:15-cv-06314-YGR. Kirkland & Ellis LLP and Jaszczuk P.C. represent
Alarm.com Incorporated and Alarm.com Holdings, Inc. (“Alarm.com”) in that matter. The lawsuit is
pending before the Honorable Yvonne Gonzalez Rogers in the United States District Court for the Northern
District of California, Oakland Division. This letter is to advise you that Plaintiffs filed a Motion for
Preliminary Approval of Class Action Settlement in connection with this class action lawsuit on October
25, 2018.

       Case Name:             Abante Rooter and Plumbing, Inc., et al., v.
                              Alarm.com Incorporated, et al.

       Case Number:           4:15-cv-06314-YGR

       Jurisdiction:          United States District Court,
                              Northern District of California, Oakland Division

       Date Settlement
       Filed with Court:      October 25, 2018

        Alarm.com denies any wrongdoing or liability whatsoever, but has decided to settle this action
solely in order to eliminate the burden, expense, and uncertainties of further litigation. In compliance with
28 U.S.C. § 1715(b), the following documents referenced below are included on the CD that is enclosed
with this letter:
           Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 47 of 52




«First» «Last»
November 2, 2018
Page 2

      1.    28 U.S.C. § 1715(b)(1) – Complaint and Related Materials: Copies of the Class Action
            Complaint for Damages and Injunctive Relief and Defendants’ Answer and Affirmative
            Defenses to Class Action Complaint for Damages and Injunctive Relief are included on the
            enclosed CD.

      2.    28 U.S.C. § 1715(b)(2) – Notice of Any Scheduled Judicial Hearing: As of November 2,
            2018, the Court has not yet scheduled a final fairness hearing in this matter. Plaintiffs filed
            Plaintiffs’ Notice of Motion and Memorandum of Points and Authorities in Support of
            Unopposed Motion for Preliminary Approval of Class Action Settlement noting the hearing
            for preliminary approval of the Settlement is scheduled to take place on November 27, 2018,
            at 2:00 p.m. in Courtroom 1 on the 4th Floor of the Oakland Courthouse, before the
            Honorable Yvonne Gonzalez Rogers. Copies of Plaintiffs’ Notice of Motion and
            Memorandum of Points and Authorities in Support of Unopposed Motion for Preliminary
            Approval of Class Action Settlement, Declaration of Beth E. Terrell in Support of Plaintiffs’
            Motion for Preliminary Approval of Class Action Settlement, Declaration of Edward A.
            Broderick in Support of Plaintiffs’ Motion for Preliminary Approval of Class Action
            Settlement, Declaration of John W. Barrett in Support of Plaintiffs’ Motion for Preliminary
            Approval of Class Action Settlement, Declaration of Matthew P. McCue in Support of
            Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement, Declaration of Fred
            Heidarpour for Abante Rooter and Plumbing, Inc., Declaration of Philip J. Charvat,
            Declaration of Mark Hankins, Declaration of Carla A. Peak in Support of Notice Plan, and
            [Proposed] Order Granting Plaintiffs’ Motion for Preliminary Approval of Class Action
            Settlement are included on the enclosed CD.

      3.    28 U.S.C. § 1715(b)(3) – Notification to Class Members: Copies of the proposed
            Postcard Notice, Email Notice, Long Form Notice, Online Notices, and Publication Notice
            to be provided to the class are included on the enclosed CD.

      4.    28 U.S.C. § 1715(b)(4) – Class Action Settlement Agreement: A copy of the Class Action
            Settlement Agreement is included on the enclosed CD.

      5.    28 U.S.C. § 1715(b)(5) – Any Settlement or Other Agreement: As of November 2, 2018,
            no other settlement or agreement has been entered into by the parties to this Action, either
            directly or by and through their respective counsels.

      6.    28 U.S.C. § 1715(b)(6) – Final Judgment: No Final Judgment has been reached as of
            November 2, 2018, nor have any Notices of Dismissal been granted at this time. A copy of the
            [Proposed] Final Approval Order is included on the enclosed CD.

      7.    28 U.S.C. § 1715(b)(7)(A)-(B) – Names of Class Members/Estimate of Class Members:
            While KCC in connection with Alarm.com is in the process of gathering information on this issue,
            pursuant to 28 U.S.C. § 1715(b)(7)(A), at this time a complete list of names of class members as
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November 2, 2018
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              well as each State of residence is not available, because the parties do not presently know the
              names or current addresses of all the proposed settlement class members and will not learn this
              information until the Settlement is preliminarily approved and the Court authorizes
              dissemination of information about the Settlement through the Class Notice. Pursuant to 28
              U.S.C. § 1715(b)(7)(B), it is estimated that there are approximately 1,215,988 individuals in
              the class. Attached hereto as Appendix A is an approximate percentage breakdown of class
              members by state of residence. These percentages are preliminary and are likely to change
              over the course of the administration of this settlement.

       8.     28 U.S.C. § 1715(b)(8) – Judicial Opinions Related to the Settlement: As the proposed
              Settlement is still pending final approval by the Court, there are no other opinions available at
              this time. As of November 2, 2018, there has been no written judicial opinion related to the
              settlement.

       If for any reason you believe the enclosed information does not fully comply with 28 U.S.C. § 1715,
please contact KCC immediately at either jchernila@kccllc.com or (415) 798-5969 so that Alarm.com can
address any concerns or questions you may have.

       Thank you.
                                                     Sincerely,



                                                     /s/
                                                     Daniel Burke
                                                     Executive Vice President
Enclosure – CD Rom
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                              APPENDIX A

            STATE/REGION      APPROX. COUNT       APPROX. PCTG.
              UNKNOWN                  9,083           1%
                 AA                        1          <1%
                 AE                       29          <1%
                 AK                       76          <1%
                 AL                    8,167           1%
                 AP                        9          <1%
                 AR                    2,199          <1%
                 AZ                    2,588          <1%
                 CA                   21,001           2%
                 CO                   43,297           4%
                 CT                   76,875           6%
                 DC                      533          <1%
                 DE                    1,450          <1%
                 FL                   31,219           3%
                 GA                   97,343           8%
                 GU                        5          <1%
                 HI                      114          <1%
                 IA                      407          <1%
                 ID                      460          <1%
                  IL                   6,919           1%
                 IN                    2,945          <1%
                 KS                    1,274          <1%
                 KY                   52,858           4%
                 LA                      586          <1%
                 MA                   94,123           8%
                 MD                    4,202          <1%
                 ME                      243          <1%
                 MI                    4,392          <1%
                 MN                      562          <1%
                 MO                   55,598           5%
                 MS                    3,513          <1%
                 MT                      118          <1%
                 NC                   19,257           2%
                 ND                       52          <1%
                 NE                      163          <1%
                 NH                   11,374           1%
                 NJ                    7,623           1%
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                              APPENDIX A

            STATE/REGION      APPROX. COUNT       APPROX. PCTG.
                 NM                    1,070          <1%
                 NV                    2,402          <1%
                 NY                   99,909           8%
                 OH                 162,638           13%
                 OK                    3,740          <1%
                 OR                      263          <1%
                 PA                 157,044           13%
                 PR                      273          <1%
                  RI                  24,024           2%
                 SC                    7,039           1%
                 SD                       85          <1%
                 TN                    6,627           1%
                 TX                 155,254           13%
                 UT                      551          <1%
                 VA                    3,836          <1%
                  VI                      12          <1%
                 VT                      283          <1%
                 WA                      717          <1%
                 WI                    2,470          <1%
                 WV                   27,033           2%
                 WY                       60          <1%
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                      Exhibit H
                                                               Case 4:15-cv-06314-YGR Document 304 Filed 06/21/19 Page 52 of 52


          Last                 First                                              Company                                                   Address 1                      Address 2                    City      State       Zip
Sessions           Jefferson              Attorney General of the United States                    United States Department of Justice                  950 Pennsylvania Avenue, NW             Washington       DC       20530-0001
Lindemuth          Jahna                  Office of the Alaska Attorney General                    1031 W. 4th Avenue                                   Suite 200                               Anchorage        AK       99501-1994
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